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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



   JOHN F. PORTILLO, RAFAEL                         CIVIL ACTION NO. 15-cv-7908-JHR-KMW
   SUAREZ, MARTIN DURAN, GERMAN
   BENCOSME, EDIN VARGAS, LUIS A.                   ORDER
   HERNANDEZ, JOSUE PAZ, and
   ALAVARO CASTANEDA, individually
   and on behalf of all others similarly
   situated,

                                 Plaintiffs,
   vs.

   NATIONAL FREIGHT, INC. and NFI
   INTERACTIVE LOGISTICS, INC.,

                                 Defendants.



         AND NOW, as stipulated by the parties during the December 21, 2021 scheduling

 conference [see Dkt. 261, 264], the Court hereby ORDERS that the briefing schedule for

 Plaintiffs’ motion for summary judgment [Dkt. 187] is hereby REINSTATED as follows:

            1. Defendants shall file their opposition to Plaintiffs’ motion for summary judgment
               and/or cross-motion for summary judgment by January 31, 2022;

            2. Plaintiffs shall file their reply by February 28, 2022;

            3. A hearing on the motion will held on March 22, 2022 at 11:00 a.m. in Courtroom
               5D, U.S. District Court, 4th & Cooper Streets, Camden, New Jersey. The Court
               may reconsider holding the hearing in-person if the spread of the COVID-19 virus
               so requires.

 SO ORDERED.

 January 6, 2022                                                         /s/ Joseph H. Rodriguez

                                                                         Joseph H. Rodriguez, USDJ
